Case 2:09-cv-01120-RSM Document 6-3 Filed 08/26/09 Page 1 of 4




EXHIBIT B
        Case   2:09-cv-01120-RSM          Document 6-3 Filed 08/26/09 Page 2 of 4
         5/21/2009 2:45 PM , ': Rice Rice Insurance, LLC TO: +1 (877) 7776~~~ PAGE: 001 OF 003
                          ( .




      Rice Insurance, LLC
      1400 Broadway
      Bellngham, WA, 98225




        confident al
 ax
To:                    RPS-ISABELLE CHENTIL
Fax     Number:        +1 (877) 7776329



From:                  Jackie James
Fax Number:            360-734-1173
Business Phone:        360-734-1161
Home      Phone:

Pages:                 3
Date/Tme:              5/21/20092:45:06 PM
Subject:               TRANSFORM LLC


NEW LOSS
     ..
    ~.
 ACORO/i
                                     Case 2:09-cv-01120-RSM Document 6-3 Filed 08/26/09 Page 3 of 4
                                     5/21/2009 2:45 PM r- ~~: Rice Rice Insurance, LLC TO: +1 (877) 777~.~q PAGE: 002 OF 003




                                 GENERAL LIABILITY NOTICE OF OCCURRENCE/CLAIM
                                                                                                                                       AND TIME H AM DATE OF CLAIM I
                                                                                                                                                                         I
                                                                                                                                                                                DATE (MM/DDNY)
                                                                                                                                                                                  5/21/2009
                                                                                                                                                                                      P=À~~~\:t
AGENCY  I lAgNJ' Extl: (360) 734-1161                                              I NOTICEOF
                                                                                     OCCURRENCE
                                                                                                              10/1/2008 I 12: 00 PM 10/1/2008 I
                                                                                                             \:DATE OF OCCURRNCE
                                                                                                                                                                                         IYESI    1NO
Rice Insurance LLC                                                                 I NOTICE OF CLAIM
                                                                                                                                                      TYPE
                                                                               EFFECTVE DATE           EXPIRATION DATE I POLICY
1400 Broadway
P.O. Box 639                                                                   2/13/2008              2/13/2009 rx OCCURRENCE nCLAIMSMAE                                        I RETOACTIVE DATE
                                                                                                                                                MISCELLANEOUS INFO (Site & location code)
Bellingham                              WA     98227                           COMPANY                  NAICCDDE:

ffie No\: (360) 734-1173
                                                                               Indian Harbor Insurance                       CO
Ä~t~SS: tim~riceinsurance. com                                                                                                                   REFERNCE NUMBER
                                                                               POLICY NUMBER
CODE:                                   I SUB CODE:
                                                                               ESG0022250
AGENCY                00020064
                                                                                                                    I    CONTACT INSURED
INSURED                                                                                                                                                                           WHERETO CONTACT
                                                                                       NAME AND ADDRESS
NAME AND ADDRESS                       I SOC SEC ¡JOR FEIN:
                                            BOO MAIS
Transform LLC, DBA: Equlateral Holdings LLC
11857 Bay Ridge Rd.
                                                                                                                                                                                   'MEN TO CONTACT
Burlington                              WA     98223-3613
                                                                                       RESIDENCE PHONE (A/C, No)         BUSINESS PHONE (A/C, No, Ext)
RESIDENCE PHONE (A/C, No)             BUSINESS PHONE (A/C, No, Ext)                                                      360-155-9130
                                                                                        CELL PHONE (AI, No)              E-MAIL ADDRESS
CELL PHONE (AlC, No)                 E-MAIL ADDRESS


 OCCURRENCE
                                                                                                                                                                 AUTORITY CONTACTED
 LOCATION OF
 ~;c~~d~~tCi statel
                            3770 SUNCAIA TRAIL                                                                     CLE ELUM WA                               \
                                                                                                                                                                                            THE
 DESCRIPTION OF
 OCCURRENCE
                            INSURD DELIV 57 OR 58 BUILDING MODULS TO CLAIM AN THE WE ALL DEFECT IV.
 (Use separate sheet,       CLAIMT HA TO REUILD. THE WE SCRS IN PIPES, ELECTRICA PROBLE ETC.
 POLICY INFORMATION
 COVERAGE PART OR
 FORMS (Insertfonn
 #s and edition dates)

                                                                                                                                                                                                 ~~
                                                                                                                                                                              DEDUCTIBLE            PO
  GENERAL      AGGREGATE I PROD/COMP OPAGG I PERS &ADV INJ
                                                                                    I2,000,000      100,000                                 5,000
                                                                                                                                           I MEDICAL EXPENSE                                        BI
 2,000,000 2,000,000 1,000,000                                                        EACH OCCURRENCE I FIRE DAMAGE
                                                                                                                                                                      P R
                                                                                                       I LIMITS:                        AGGR
 ~~¿if~iLAI I UMBRELLA I I EXCESS I CARRIER:
 TYPE OF LIABILITY
                                                                                                                                   TYPE OF PREMISES
 PREMISES; INSURED IS          -I      10WNER I        I TENANT I       I OTHER:


 OWNER'S NAME
 &ADDRESS.                                                                                                                          ~~~Sirim;iNE
 (If not Insured)
                                                                                                                                    TYPE OF PRODUCT
                                 I     I MANUFACTURER       I   I VENDOR I         I OTHER:
 PRODUCTS: INSURED is

 MANUFACTURER'S
 NAME & ADDRESS
  (If not Insured)
                                                                                                                                    ~~UJti~li:HONE

 WHERE CAN PRODUCT BE SEEN?
  OTHER LIABILITY IN.
  CLUDING COMPLETED
  OPERATIONS (Explain)

  INJURED/PROPERTY DAMAGED
                                                                                                                        /"                                        PHONE (A/C, No, Ext)
  NAME &                  MITZEL CORP                                                    C/O DAN MITZEL
  ADDRESS
                                                                                      MT VEON                                       98273                         360-404-2050
  (Injured/Ower)          1111 CLELA             AVE STE 201                                                                 WA
                                                                                                                                                                  PHONE (AlC, No, Ext)
  AGE
                                                                      NAME &
                                                                    ADDRESS
                                                                  I EMPLOYER'S
                                                                                                                                                                  360-66i-2237             CELL
             I SEX i OCCUPATION
                                                                                              wiERE TAKEN
  DESCRIBE INJURY
                                                                                                                                  I WHTWAS INJURED DOING?
¡FATALITY
                                                                                              WHERE   CAN
   DESCRIBE                                                                                   PROPERTY
                                                                                              BE SEEN?                                                                  i WHEN CAN PROPERTY BE SEEN1
                                                                  I ESTIMATE AMOUNT
   rT~~~E~~el, etc.) CONDOS
  WITNESSES                                                                                                                                                                  RESIDENCE PHONE (A/C, No)
                                                      NAME & ADDRESS
                                                                                                                                  BUSINESS PHONE (AI, No, Ext)



                                                                  ,. Il Q.
   REMARKS
                                                    360-661-2120
                                                                 ./'J           JEFF~HM- HOMES. COM
 ALSO CONTACT JEFF HASELL
   REPORTED

  BOO MAIS
                     BY

                                           TIM DICKERSON
                                         I REPORTED TO                         I SIGNATURE OF INSURED
                                                                                                                                                   -/~ß-L.
                                                                                                                                             \ SIGNATURE OF PRODUCER

   ACORD 3 (2007/01)
                                                                                                  Page 1 of 2 ~ACORD CORPORATION 1986-2007. All rights reserved.
   I NS003 (200701).01                                          The ACORD name and logo are regIstered marks of ACORD
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                       5/21/2009 2: 45 PM r- -~: Rice Rice Insurance, LLC TO: +1 (877) 7776?~q PAGE: 003 OF 003




                                                           Applicable in Arizona
         For your protection, Arizona law requires the following statement to appear on this form. Any person who knowingly
         presents a false or fraudulent claim for payment of a loss is subject to criminal and civil penalties.

            Applicable in Arkansas, Delaware, District of Columbia, Kentucky, Louisiana,
          Maine, Michigan, New Jersey, New Mexico, New York, North Dakota, Pennsylvania,
              South Dakota, Tennessee, Texas, Virginia, Washington and West Virginia

         Any person who knowingly and with intent to defraud any insurance company or another person, files a statement of
         claim containing any materially false information, or conceals for the purpose of misleading, information concerning
         any fact, material thereto, commits a fraudulent insurance act, which is a crime, subject to criminal prosecution and
         (NY: substantial) civil penalties. In DC, LA, ME, TN, VA and WA, insurance benefits may also be denied.
                                                          Applicable in California
         For your protection, California law requires the following to appear on this form: Any person who knowingly presents a
         false or fraudulent claim for payment of a loss is guilty of a crime and may be subject to fines and confinement in state
         prison.
                                                          Applicable in Colorado
          It is unlawful to knowingly provide false, incomplete, or misleading facts or information to an insurance company for
          the purpose of defrauding or attempting to defraud the company. Penalties may include imprisonment, fines, denial of
          insurance, and civil damages. Any insurance company or agent of an insurance company who knowingly provides
          false, incomplete, or misleading facts or information to a policy holder or claimant for the purpose of defrauding or
          attempting to defraud the policy holder or claimant with regard to a settlement or award payable from insurance
          proceeds shall be reported to the Colorado Division of Insurance within the Department of Regulatory Agencies.

                                                     Applicable in Florida and Idaho
         Any person who Knowingly and with the intent to injure, defraud, or deceive any insurance company files a statement of
         claim containing any false, incomplete or misleading information is guilty of a felony.*
                   * In Florida - Third Degree Felony
                                                             Applicable in Hawaii

           For your protection, Hawaii law requires you to be informed that presenting a fraudulent claim for payment of a loss or
           benefit is a crime punishable by fines or imprisonment, or both.
                                                            Applicable in Indiana
           A person who knowingly and with intent to defraud an insurer files a statement of claim containing any false,
           incomplete, or misleading information commits a felony.

                                                           Applicable in Minnesota
           A person who files a claim with intent to defraud or helps commit a fraud against an insurer is guilty of a crime.

                                                             Applicable in Nevada
           Pursuant to NRS 686A.291, any person who knowingly and willfully files a statement of claim that contains any false,
            incomplete or misleading information concerning a material fact is guilty of a felony.


                                                       Applicable in New Hampshire
            Any person who, with purpose to injure, defraud or deceive any insurance company, files a statement of claim
            containing any false, incomplete or misleading information is subject to prosecution and punishment for insurance
            fraud, as provided in RSA 638:20.

                                                               Applicable in Ohio
            Any person who, with intent to defraud or knowing that he/she is facilitating a fraud against an insurer, submits an
            application or files a claim containing a false or deceptive statement is guilty of insurance fraud.
                                                            Applicable in Oklahoma
            WARNING: Any person who knowingly and with intent to injure, defraud or deceive any insurer, makes any claim for
            the proceeds of an insurance policy containing any false, incomplete or misleading information is guilty of a felony.

ACORD 3 (2007/01)
                                                                     Page 2of2
INS003 (200701).01
